                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                           NO. 3:11CR373-3-FDW-DSC


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
KAMAL ZAKI QAZAH,                                      )
                                                       )
                         Defendant.                    )
_________________________________________________ )



       THIS MATTER is before the Court on the “Application[s] for Admission to Practice Pro

Hac Vice” (documents ##99 and 100) of defense counsel Richard A. Harpootlian and Graham L.

Newman. For the reasons set forth therein, the Motions will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Frank D. Whitney.

       SO ORDERED.

                                                       Signed: January 4, 2012




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